      Case 2:24-cv-03160-MTL       Document 1       Filed 11/12/24   Page 1 of 75




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14
15                        IN THE UNITED STATES DISTRICT COURT
16                             FOR THE DISTRICT OF ARIZONA
17
     U-Haul International,     Inc.,   a   Nevada       Case No:
18
     corporation,
19                                                    COMPLAINT
            Plaintiff,
20
21   v.

22   Public Storage Operating Company, a
     Maryland foreign business trust,
23
24          Defendant.
25
26           Plaintiff, U-Haul International, Inc. (“U-Haul”), pursuant to the Federal Declaratory
27 Judgment Statute, 28 U.S.C. § 2201, complains against Defendant, Public Storage Operating
28 Company (“Public Storage” or “Defendant”), as follows:
      Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24     Page 2 of 75




 1                                     NATURE OF ACTION
 2           1.     U-Haul brings this action to protect its right to continue its longstanding use of
 3 the color orange and the word “orange” in connection with the promotion and marketing of its
 4 self-moving and storage business.
 5           2.     Defendant has engaged in a multi-faceted and corrupt campaign to wrongfully
 6 appropriate rights in the use of the color and word “orange” in connection with self-storage
 7 services and to assert such rights against U-Haul, its sister companies, its dealers and licensees
 8 (the “U-Haul Businesses”). This campaign includes Defendant’s filing of fraudulently
 9 manufactured evidence with the United States Patent and Trademark Office (“USPTO”) in an
10 effort to keep trademark registrations alive for marks that Defendant is not using, filing false
11 statements with the USPTO claiming substantially exclusive use of the color orange in various
12 forms of purported trade dress, and also making baseless demands that others, including U-
13 Haul cease using the color and/or the term “orange” in connection with their businesses, which
14 has necessitated this action.
15           3.     For 79 years, U-Haul has continuously and prominently featured the color
16 orange in connection with its truck, trailer, and towing equipment rental including tow dollies,
17 and auto transports and self-storage services (“Self-Moving and Storage Services”), and
18 through extensive sales and promotion of those Self-Moving and Storage Services, has
19 developed strong common law and registered trade dress rights in the color orange relating to
20 its Self-Moving and Storage Services, embodying invaluable goodwill. U-Haul’s Self-Moving
21 and Storage solutions including truck, trailer and towing rental equipment, rental of self-
22 storage facilities, rental of portable moving containers, as well as sales of vehicle cargo
23 equipment, towing hitches and towing wiring, boxes and packing supplies. Self-Moving and
24 Storage Services are inextricably intertwined in the minds of consumers. Self-Moving and
25 Storage Services address the same basic need for customers: how they deal with their
26 belongings in transition. Self-moving is “they have their things here; they want them there”
27 while self-storage is “they have their things now; they want them later”. In short, U-Haul has
28 been providing solutions for Self-Moving and Storage needs for 79 years.
                                                    2
      Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24      Page 3 of 75




 1          4.      U-Haul originally decided to paint the trailers orange because it was a color
 2 that was readily identifiable, looked clean, bright and attractive, and formed moving billboards
 3 to promote U-Haul services at service stations throughout a city.
 4          5.      Orange U-Haul self-move truck, trailer, and towing equipment were always
 5 used not only for self-moving, but to store customer’s goods as well. As part of its provision
 6 of Self-Moving and Storage services, U-Haul has also prominently used the color orange for
 7 at least 50 years in connection with the self-storage services it provided at its self-storage
 8 facilities and has expended substantial resources utilizing the color orange to promote those
 9 services. U-Haul currently has over 1 million orange storage doors at its facilities.
10           6.     Despite U-Haul’s longstanding nationwide use of the color orange in
11 connection with its Self-Moving and Storage Services, as well as extensive nationwide third-
12 party use of the color orange in connection with self-storage services, Defendant has now
13 demanded that the U-Haul Businesses cease use of the color orange on a website operated by
14 U-Haul relating to self-storage and cease its use of the term “orange” in connection with its
15 Self-Moving and Storage business. This demand is part of an improper scheme by Defendant
16 to wrongfully assimilate and steal the orange trade dress of U-Haul Businesses and third-
17 parties and to monopolize the color orange and term “orange” within the self-storage industry
18 and foreclose others from using the color orange and/or the term “orange” in connection with
19 self-storage services.
20           7.     Defendant is so determined to monopolize the color and/or the term “orange”
21 that it has fabricated use of trademarks containing the term “orange” and knowingly filed
22 fraudulent evidence of trademark use with the USPTO to maintain registrations for the
23 trademarks containing the term “orange” that Defendant has asserted against U-Haul and likely
24 many other parties in the self-storage space.
25           8.     Defendant’s demands are not only unjustified and improper given the
26 longstanding and extensive use of the color orange by the U-Haul Businesses as well as the
27 extensive use of the color by hundreds of independent self-storage providers, but they also
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                                                   3
      Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 4 of 75




 1 create a substantial and immediate controversy between Defendant and U-Haul that threatens
 2 to disrupt U-Haul’s business.
 3           9.     Accordingly, U-Haul asks this Court for a declaration that U-Haul’s use of the
 4 color orange and the term “orange” does not violate Defendant’s alleged rights, and, in
 5 particular, does not constitute trademark infringement, trademark dilution, unfair competition,
 6 or a violation of the Anticybersquatting Consumer Protection Act with respect to any alleged
 7 rights of Defendant. In addition, U-Haul asks this Court to invalidate certain trademark
 8 registrations asserted by Defendant on the basis that Defendant perpetrated a fraud upon the
 9 USPTO by filing evidence it intentionally fabricated in an effort to maintain such trademark
10 registrations and/or on the basis of non-use and abandonment.
11                                         THE PARTIES
12           10.    U-Haul is a corporation organized and existing under the laws of the State of
13 Nevada having a principal place of business at 2727 North Central Avenue, Phoenix, Arizona
14 85004.
15           11.    Defendant is a publicly traded real estate investment trust organized and
16 existing under the laws of the State of Maryland having a principal place of business at 701
17 Western Avenue, Glendale, California 91201.
18           12.    Defendant is registered to transact business in Arizona and, upon information
19 and belief, regularly transacts business in Arizona, including within this District.
20                                 JURISDICTION AND VENUE
21           13.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,
22 1338(a), and 1338(b). This Court also has jurisdiction pursuant to the Lanham Act, 15 U.S.C.
23 § 1121, and federal supplemental jurisdiction under 28 U.S.C. § 1367.
24           14.    Venue is proper pursuant to 28 U.S.C. § 1391(b) in that U-Haul resides in and
25 is doing business in this District, a substantial part of the events giving rise to this action
26 occurred in this District, and Defendant is subject to jurisdiction in this District. Defendant
27 sent its demand to U-Haul in this District demanding that U-Haul cease activities that U-Haul
28 undertakes in this District. U-Haul is located in Phoenix, Arizona, within the jurisdiction of
                                                   4
      Case 2:24-cv-03160-MTL          Document 1      Filed 11/12/24      Page 5 of 75




 1 this Court. Defendant’s actions have caused and will continue to cause injury and threatened
 2 harm to U-Haul in this District. Thus, the consequences of Defendant’s actions have a direct
 3 impact in Arizona and within this District, thereby producing effects in and directly
 4 implicating this District and Arizona.
 5                      U-HAUL AND ITS ORANGE MARKS AND TRADE DRESS
 6            15.    U-Haul is the leading provider of Self-Moving and Storage Services in the
 7 United States. Throughout its long history, U-Haul has developed and maintained an
 8 exceptional national reputation for its Self-Moving and Storage Services.
 9             U-Haul’s Use of and Service Mark Rights to the Color Orange in Connection
10                         With its Self-Moving and Storage Services

11            16.    Since 1945, U-Haul has prominently used the color orange as an eye-catching

12 identifier of Self-Moving and Storage business, specifically its offering of do-it-yourself
13 trucks, trailers, and towing equipment including tow dollies, and auto transports for rent.
14            17.    Since its earliest inception, U-Haul has prominently and consistently displayed

15 the color orange directly on the trailers and vehicles it offers for rent, on its rental facilities in
16 all 50 states, and in nationwide advertising and promotional materials for its Self-Moving and
17 Storage Services, including from retail locations within this judicial district. Here are a few
18 examples showing early looks of U-Haul trailers:
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      Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24    Page 6 of 75




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 8           18.     U-Haul promotes its Self-Moving and Storage Services using the color orange
 9 by prominently featuring the color on roadside and building signage. Examples of U-Haul’s
10 use of the color orange in promoting its Self-Moving and Storage Services are pictured below
11 and in Exhibit A attached hereto:
12
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             19.     U-Haul also heavily promotes its Self-Moving and Storage Services via the
25
     Internet, including on its website accessible at www.uhaul.com and the U-Haul app, which U-
26
     Haul’s customers use to find U-Haul’s rental facilities located in all 50 states and make rental
27
     reservations as shown below:
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                                                    6
      Case 2:24-cv-03160-MTL       Document 1     Filed 11/12/24    Page 7 of 75




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             20.    In addition, the packet U-Haul provides its customers when they rent a truck,
23
     trailer, or towing equipment, which includes rental information and a move-in guide
24
     prominently displays the color orange as shown below:
25
26
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                                                  7
      Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24   Page 8 of 75




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             21.    Notably, the vehicles and trailers U-Haul rents, examples of which are
16
     pictured below, prominently and consistently feature the color orange, and serve as thousands
17
     of rolling billboards all across America promoting U-Haul Self-Moving and Storage Services:
18
19
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       Case 2:24-cv-03160-MTL        Document 1       Filed 11/12/24    Page 9 of 75




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              22.    In addition, as shown below and in Exhibit A attached hereto, U-Haul’s rental
11
     facilities, which are located in all 50 states, prominently feature the color orange both on the
12
     exterior of the facilities and on in-store displays, and have done so for several decades, thereby
13
     further developing and creating an association between the color orange and U-Haul Self-
14
     Moving and Storage Services:
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      Case 2:24-cv-03160-MTL        Document 1     Filed 11/12/24     Page 10 of 75




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              23.   In addition, the over 21,000 independent businesses that are dealers of U-Haul
22
     products and services -- including over 5000 independent self-storage facilities – are licensed
23
     to use, among other things, U-Haul’s orange trademarks, orange services marks and orange
24
     trade dress.
25
              24.   U-Haul has invested substantial resources developing, advertising, promoting
26
     and marketing its Self-Moving and Storage Services under the color orange in connection with
27
     its trade dress and various trademarks throughout the United States and establishing its
28
                                                   10
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24      Page 11 of 75




 1 Services in the minds of consumers as high-quality services offered by U-Haul. As a result,
 2 and in addition to its registered rights described below, U-Haul enjoys extremely strong
 3 common law trade dress rights in its trademarks and trade dress featuring the color orange
 4 relating to its Self-Moving and Storage Services, embodying invaluable goodwill.
 5           25.    In addition to its extensive common law trademarks and trade dress rights
 6 featuring the color orange relating to its Self-Moving and Storage Services, U-Haul owns the
 7 following long-standing federal registrations for trade dress and trademarks that incorporate
 8 the color orange reciting vehicle rental and related services:
 9
                   Mark                     Ser. /     Filing / Reg.  First Use   Goods and
10
                                           Reg. No.        Date           in        Services
11                                                                   Commerce
                                           73096387    Aug. 12, 1976   Jun. 15, Class 39:
12                                          1075214    Oct. 11, 1977    1946    rental of
                                                                                automobile
13                                                                              freight trailers
14
15
     The mark is lined for the colors
16   orange and aluminum
17
18
19
20
                                           73103035    Oct. 13, 1976     Sep. 14,   Class 39: truck
21                                          1094740    Jun. 27, 1978      1974      and automobile
                                                                                    trailer rentals
22
                                                                                    and warehouse
23                                                                                  storage
                                                                                    services
24
     The drawing is lined for the colors
25   blue and orange
26
27
28
                                                  11
     Case 2:24-cv-03160-MTL          Document 1     Filed 11/12/24      Page 12 of 75




 1                  Mark                      Ser. /    Filing / Reg.     First Use     Goods and
                                             Reg. No.       Date             in          Services
 2                                                                       Commerce
 3
 4
 5
 6
 7                                           74695959   Jun. 21, 1995     Oct. 15,    Class 39: truck
                                              1968672   Apr. 16, 1996      1987       and moving
 8                                                                                    van rental
                                                                                      services
 9
10
11   The mark consists of an orange and
     white color combination as applied to
12   truck and moving vans. The drawing
     is lined for the color orange, and
13   orange and white are claimed as part
     of the mark. The dotted lines shown
14   on the drawing are not part of the
15   mark and serve only to show the
     position of the mark on the goods.
16
17
18
19
20
21
                                             72208429   Dec. 18, 1964     Jun. 15,    Class 39:
22
                                              827358    Apr. 11, 1967      1946       rental or
23                                                                                    automobile
                                                                                      freight trailer
24
25   The drawing is lined for the colors
26   silver and orange.

27
28
                                                   12
      Case 2:24-cv-03160-MTL      Document 1      Filed 11/12/24       Page 13 of 75




 1                 Mark                    Ser. /      Filing / Reg.     First Use     Goods and
                                          Reg. No.         Date             in          Services
 2                                                                      Commerce
 3
 4
 5
 6
 7                                        72176274     Sep. 04, 1963     Jul. 15,    Class 39: truck
                                           786156      Mar. 02, 1965      1959       rentals
 8
 9
     The drawing is lined for the color
10   orange
11
12
13
14
15
16
                                          73038107     Nov. 25, 1974     Nov. 15,    Class 39: truck
17                                         1024321     Nov. 04, 1975      1969       and automobile
                                                                                     trailer rentals
18
19
     The drawing is lined for the color
20   orange
21
22
23
24
25
            26.    These registrations are valid, subsisting, and in full force and effect. True and
26
     correct copies of documents retrieved from the USPTO’s online Trademark Status &
27
28
                                                  13
      Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24    Page 14 of 75




 1 Document Retrieval database (“TSDR”) evidencing the current status and U-Haul’s ownership
 2 of the registrations are attached hereto as Exhibit B.
 3            27.     Notably, these registrations have achieved incontestable status pursuant to 15
 4 U.S.C. § 1065. Accordingly, the registrations provide conclusive evidence of the validity of
 5 the registered trade dress and trademarks, U-Haul’s ownership of the registered trade dress and
 6 service marks, and U-Haul’s exclusive right to use the registered trade dress and service marks
 7 in connection with the services recited in the certificates of registration for the trade dress and
 8 service marks. 15 U.S.C. § 1115(b).
 9                          U-Haul’s Longstanding Use of the Color Orange
               In Connection With Its Self-Moving and Storage Services at self-storage
10                                        facilities
11
              28.     U-Haul also offers Self-Moving and Storage Services at self-storage facilities.
12
     From the beginning, U-Haul customers used its orange rental equipment to store their goods,
13
     and since as early as 1974, U-Haul has directly used the color orange for sale and promotion
14
     of U-Haul Self-Moving and Storage Services at self-storage facilities.
15
              29.     Notably, Self-Moving and Storage Services are inextricably linked in the
16
     minds of consumers because many consumers who are moving need to store their belongings,
17
     whether it is in a truck, a trailer or in a self-storage facility, and customers who are storing
18
     their belongings need to move them to and from storage. Even prior to U-Haul’s operation of
19
     self-storage facilities, U-Haul’s customers regularly rented self-move vehicles and trailers
20
     from U-Haul to use for self-storage. And of course today, many customers who rent storage
21
     units at a self-storage facility also rent vehicles to move possessions to or from those self-
22
     storage units.
23
              30.     Like U-Haul, Public Storage over the years has provided its customers with
24
     options for moving their belongings.
25
              31.     U-Haul prominently displays the color orange directly on its self-storage
26
     facilities and in nationwide advertising and promotional materials for those Self-Moving and
27
     Storage Services, including, but not limited to, roadside and building signage and the Internet.
28
                                                    14
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 15 of 75




 1           32.    As pictured below, U-Haul also promotes its services provided at self-storage
 2 facilities on the trucks it rents using an image of an orange storage doors like those used in
 3 many of U-Haul’s self-storage facilities:
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14           33.    U-Haul advertises and sells its self-storage services under the color orange

15 throughout the United States in all 50 states, including from retail locations in this judicial
16 district. Representative examples of U-Haul’s various uses of the color orange in connection
17 with its self-storage services are pictured below and in Exhibit C attached hereto.
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     Case 2:24-cv-03160-MTL        Document 1     Filed 11/12/24    Page 16 of 75




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 6           34.    U-Haul has invested substantial resources developing, advertising, promoting
 7 and marketing its self-storage services under various trademarks and trade dress that feature
 8 the color orange throughout the United States.
 9           35.    In addition, U-Haul owns the following long-standing federal registrations for
10 trade dress and service marks that incorporate the color orange reciting storage services:
11
12                 Mark                 Ser. / Reg.     Filing /    First Use       Goods and
                                           No.         Reg. Date       in            Services
13                                                                 Commerce
14                                       78468909      Aug. 17,      Aug. 01,    Class 35:
                                         3034911        2004          2000       Retail store
15
                                                       Dec. 27,                  services
16                                                      2005                     featuring truck
                                                                                 and automobile
17                                                                               trailer hitches,
18                                                                               boxes for
                                                                                 storage and
19                                                                               moving, truck
                                                                                 and automobile
20
                                                                                 towing
21                                                                               systems, lights,
                                                                                 transmission
22                                                                               coolers, and
23                                                                               propane; retail
                                                                                 outlet services
24                                                                               featuring
                                                                                 trucks and
25
                                                                                 trailers
26
27                                                                               Class 39:
                                                                                 Rental
28
                                                  16
     Case 2:24-cv-03160-MTL   Document 1    Filed 11/12/24   Page 17 of 75




 1             Mark               Ser. / Reg.    Filing /     First Use      Goods and
 2                                   No.        Reg. Date        in           Services
                                                             Commerce
 3
                                                                          services,
 4                                                                        namely, rental
                                                                          of trucks, vans,
 5                                                                        automobiles,
 6                                                                        automobile
                                                                          freight trailers,
 7                                                                        hitches, pads,
                                                                          tow bars,
 8
                                                                          dollies,
 9                                                                        carriers, hand
                                                                          trucks, moving
10                                                                        equipment,
11                                                                        vehicles,
                                                                          moving vans,
12                                                                        moving boxes,
                                                                          storage rooms;
13                                                                        general storage
14                                                                        services; rental
                                                                          of warehouse
15                                                                        space;
16                                                                        warehouse
                                                                          storage
17                                                                        services, rental
                                                                          of garage
18                                                                        space; parking
19                                                                        lot services;
                                                                          rental of
20                                                                        parking spaces;
21                                                                        cargo handling
                                                                          cargo
22                                                                        unloading;
                                                                          moving van
23                                                                        services,
24                                                                        moving van
                                                                          transport;
25                                                                        rental of
                                                                          moving vans;
26
                                                                          furniture
27                                                                        moving;
                                                                          delivery of
28
                                           17
     Case 2:24-cv-03160-MTL    Document 1      Filed 11/12/24   Page 18 of 75




 1              Mark                 Ser. / Reg.    Filing /     First Use      Goods and
 2                                      No.        Reg. Date        in           Services
                                                                Commerce
 3
                                                                             goods by truck,
 4                                                                           car or van;
                                                                             truck hauling,
 5                                                                           truck towing
 6
 7                                   75176756       Oct. 04,     Oct. 01,    Class 35: retail
                                     2286782         1996         1992       store services
 8                                                  Oct. 12,                 featuring
 9                                                   1999                    packaging and
                                                                             moving
10                                                                           supplies
     The mark consists of ten
11
     windows arranged along two
12   perpendicular edges of a                                                Class 39: self-
     building with orange storage                                            storage
13   doors visible through the                                               services; rental
     windows. The matter shown in                                            of moving vans
14
     broken lines on the drawing                                             and trucks
15   serves to show positioning of
     the mark and no claim is made
16
     to it.
17
18
19
20
21
22
                                     73103035       Oct. 13,     Sep. 14,    Class 39: truck
23                                   1094740         1976         1974       and automobile
                                                    Jun. 27,                 trailer rentals
24
                                                     1978                    and warehouse
25                                                                           storage
                                                                             services
26
     The drawing is lined for the
27   colors blue and orange
28
                                              18
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24     Page 19 of 75




 1                 Mark                   Ser. / Reg.    Filing /      First Use       Goods and
 2                                           No.        Reg. Date         in            Services
                                                                      Commerce
 3
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 9           36.    These registrations are valid, subsisting, and in full force and effect. True and

10 correct copies of documents retrieved from the USPTO’s online TSDR database evidencing
11 the current status and U-Haul’s ownership of the registrations are attached hereto as Exhibit
12 D.
13           37.    Notably, Registration Nos. 1094740 and 3034911 have achieved

14 incontestable status pursuant to 15 U.S.C. § 1065. Accordingly, these registrations provide
15 conclusive evidence of the validity of the registered service marks, U-Haul’s ownership of
16 the registered service marks, and U-Haul’s exclusive right to use the registered service marks
17 in connection with the services recited in the certificates of registration for the service marks.
18 15 U.S.C. § 1115(b).
19     DEFENDANT’S IMPROPER AND FRAUDULENT ATTEMPTS TO CLAIM
     EXCLUSIVE RIGHTS IN THE COLOR ORANGE AND THE WORD “ORANGE”
20
21           38.    Defendant is U-Haul’s direct competitor in the self-storage market in 40 states

22 and Washington D.C. Although Public Storage’s founder, Wayne Hughes, has admitted that
23 Public Storage originally and intentionally knocked-off the color orange to draw an
24 association with U-Haul as a way to attract customers to Public Storage, it is only over the
25 past few years that Public Storage has made a dramatic shift in its branding and promotion of
26 its self-storage services away from prominently using the colors purple and/or yellow together
27 with the color orange in its promotional materials, self-storage facilities, and signage to
28
                                                   19
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24    Page 20 of 75




 1 prominently featuring only the color orange, a shade of orange that is much closer to the shade
 2 of orange used by U-Haul.
 3           39.    In conjunction with this shift, Defendant has improperly attempted to claim
 4 exclusive nationwide rights to use and exclude others from using the color orange in various
 5 formats as well as the word “ORANGE” for self-storage and related services by, among other
 6 things, filing several federal trademark applications seeking to register these marks.
 7                  Defendant’s Prior Use of the Colors Purple and/or Yellow
 8                          in Combination with the Color Orange

 9           40.    Upon information and belief, starting in 1994 and for many years thereafter,
10 Defendant predominantly featured the color purple in combination with the color orange in
11 its logo, on promotional materials, as well as on its self-storage facilities. Examples of Public
12 Storage’s past use of the colors purple in combination with the color orange are pictured
13 below:
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     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 21 of 75




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 9           41.    Starting in 1996, Defendant even sought to protect its rights in the combination
10 of the colors purple and/or yellow and orange by filing applications to register and obtaining
11 registrations for trade dress and service marks that incorporate both colors for its self-storage
12 services including those listed below:
13
              Mark                 Ser. /       Filing /      First Use      Goods and
14                                Reg. No.     Reg. Date         in           Services
15                                                           Commerce
                                 75821977       Oct. 14,     Oct. 1994     Class 39:
16                               2371339         1999                      renting and
17                                              Jul. 25,                   leasing self-
                                                 2000                      storage
18 The mark consists of three                                              facilities
   stripes which are applied
19
   in the colors and the
20 proportions shown to the
   exterior of buildings used
21 for providing the services.
22 The mark is lined for the
   colors orange, yellow, and
23 purple.
24
25
26                               75158918       Sep. 03,     Oct. 1994     Class 35: retail store
                                 2333475         1996                      services featuring
27
                                                Mar. 21,                   metal locks, storage
28                                               2000                      boxes, wardrobe
                                                  21
     Case 2:24-cv-03160-MTL       Document 1   Filed 11/12/24   Page 22 of 75




 1            Mark                Ser. /     Filing /    First Use     Goods and
 2                               Reg. No.   Reg. Date       in          Services
                                                        Commerce
 3
                                                                     boxes, television and
 4                                                                   microwave boxes,
                                                                     mirror boxes, lamp
 5                                                                   boxes, file boxes, dish
 6 The mark consists of three                                        barrel boxes, paper
   stripes which are applied                                         cushioning for
 7 in the colors and the                                             packing, newsprint,
   proportions shown to the                                          paper padding for
 8
   exterior of buildings used                                        moving furniture,
 9 for providing the services.                                       plastic stretch wrap,
   The mark is lined for the                                         plastic cellular
10 colors orange, yellow, and                                        cushioning packaging
11 purple.                                                           material for packing,
                                                                     markers and pens,
12                                                                   paper tape, polystyrene
                                                                     foam sheets for
13                                                                   packing, foam picture
14                                                                   corner protectors,
                                                                     plastic packing tape,
15                                                                   plastic strapping tape,
16                                                                   padded foam pouches
                                                                     for packing dishes and
17                                                                   glass items, foam
                                                                     peanuts for packing,
18                                                                   plastic sacks for
19                                                                   protecting furniture
                                                                     during transportation,
20                                                                   plastic chair and sofa
21                                                                   covers for protecting
                                                                     furniture during
22                                                                   transportation, padded
                                                                     fabric covers for
23                                                                   protecting furniture
24                                                                   during transportation,
                                                                     commercial tape
25                                                                   dispensers, rope and
                                                                     twine made of natural
26
                                                                     or synthetic fibers
27
28
                                               22
     Case 2:24-cv-03160-MTL     Document 1   Filed 11/12/24   Page 23 of 75




 1           Mark               Ser. /     Filing /    First Use     Goods and
 2                             Reg. No.   Reg. Date       in          Services
                                                      Commerce
 3
                               75978578   Sep. 03,    Sep. 1998    Class 16: writing
 4                             2286764     1996                    implements, namely,
                                          Oct. 12,                 markers and pens
 5                                         1999
 6
 7 The mark is lined for the
   colors orange and purple
 8
 9
10
11                             75158920   Sep. 03,    Sep. 1998    Class 16: packing and
                               2487759     1996                    moving materials,
12                                        Sep. 11,                 namely, paper padding
13                                         2001                    for moving furniture

14
   The mark is lined for the                                       Class 17: packing and
15 colors orange ad purple                                         moving materials,
16                                                                 namely, polystyrene
                                                                   foam sheets for
17                                                                 packing, plastic
                                                                   strapping tape, padded
18
                                                                   foam pouches for
19                                                                 packing dishes and
                                                                   glass items, foam
20                                                                 peanuts for packing,
21                                                                 plastic sacks for
                                                                   protecting furniture
22                                                                 during transportation,
                                                                   plastic chair and sofa
23                                                                 covers for protecting
24                                                                 furniture during
                                                                   transportation, and
25                                                                 padded fabric covers
26                                                                 for protecting furniture
                                                                   during transportation
27
28
                                             23
     Case 2:24-cv-03160-MTL     Document 1   Filed 11/12/24   Page 24 of 75




 1           Mark               Ser. /     Filing /    First Use     Goods and
 2                             Reg. No.   Reg. Date       in          Services
                                                      Commerce
 3
                               75978568   Sep. 03,    Sep. 1998    Class 6: metal locks
 4                             2363325     1996
                                          Jun. 27,
 5                                         2000                    Class 16: packing and
                                                                   moving materials,
 6 The mark is lined for the
                                                                   namely, storage boxes,
 7 colors orange ad purple                                         wardrobe boxes,
                                                                   television and
 8                                                                 microwave boxes,
 9                                                                 mirror boxes, lamp
                                                                   boxes, file boxes, dish
10                                                                 barrel boxes, plastic
                                                                   cellular cushioning
11                                                                 packing material for
12                                                                 packing; and paper
                                                                   tape
13
14                                                                 Class 17: packing and
15                                                                 moving materials,
                                                                   namely, plastic
16                                                                 packing tape, and
17                                                                 commercial tape
                                                                   dispensers
18
19                                                                 Class 35: retail store
20                                                                 services featuring
                                                                   metal locks, storage
21                                                                 boxes, wardrobe
                                                                   boxes, television and
22                                                                 microwave boxes,
23                                                                 mirror boxes, lamp
                                                                   boxes, file boxes, dish
24                                                                 barrel boxes, paper
                                                                   cushioning for
25
                                                                   packing, newsprint,
26                                                                 paper padding for
                                                                   moving furniture,
27                                                                 plastic stretch wrap,
28                                                                 cellular cushioning

                                             24
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24     Page 25 of 75




 1             Mark                Ser. /        Filing /      First Use      Goods and
 2                                Reg. No.      Reg. Date         in           Services
                                                              Commerce
 3
                                                                            packaging material for
 4                                                                          packing, markers and
                                                                            pens, paper tape,
 5                                                                          polystyrene foam
 6                                                                          sheets for packing,
                                                                            foam picture corner
 7                                                                          protectors, plastic
                                                                            packing tape, plastic
 8
                                                                            strapping tape, padded
 9                                                                          foam pouches for
                                                                            packing dishes and
10                                                                          glass items, foam
11                                                                          peanuts for packing,
                                                                            plastic sacks for
12                                                                          protecting furniture
                                                                            during transportation,
13                                                                          plastic chair and sofa
14                                                                          covers for protecting
                                                                            furniture during
15                                                                          transportation, padded
16                                                                          fabric covers for
                                                                            protecting furniture
17                                                                          during transportation,
                                                                            commercial tape
18                                                                          dispensers, rope and
19                                                                          twine made of natural
                                                                            or synthetic fibers
20
                       Defendant’s Shift to Using Only the Color Orange and
21
                           Improper Attempts to Claim Exclusive Rights
22           42.    Despite many years of featuring the color purple in combination with the color
23 orange in the promotion of its self-storage services and on its self-storage facilities, and having
24 knowledge of U-Haul’s prominent use of the color orange in connection with its Self-Moving
25 and Storage Services, Defendant made a distinct shift in its marketing efforts by limiting and
26 then apparently abandoning all use of the color purple to switch to solely featuring the color
27 orange on its self-storage facilities and its marketing materials. Examples of Defendant’s
28
                                                   25
     Case 2:24-cv-03160-MTL       Document 1     Filed 11/12/24    Page 26 of 75




 1 recent use of the color orange (without the color purple) in connection with its self-storage
 2 services and its marketing for those services are pictured below and in Exhibit E attached
 3 hereto:
 4
 5
 6
 7
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     Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24     Page 27 of 75




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17          43.    Defendant’s shift to solely featuring the color orange to promote its services is
18 further demonstrated by the fact that it modified the appearance of many of its self-storage
19 facilities to eliminate the use of the colors purple and/or yellow and only display the color
20 orange. Examples of the modifications are pictured below and in Exhibit F attached hereto:
21
22           Prior Building Appearance                    Current Building Appearance
23
24
25
26
27
28
                                                  27
     Case 2:24-cv-03160-MTL   Document 1   Filed 11/12/24   Page 28 of 75




 1
            Prior Building Appearance            Current Building Appearance
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
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16
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18
19
20
21
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23
24
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26
27
28
                                           28
     Case 2:24-cv-03160-MTL   Document 1   Filed 11/12/24   Page 29 of 75




 1
            Prior Building Appearance            Current Building Appearance
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           29
     Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24   Page 30 of 75




 1
              Prior Building Appearance                  Current Building Appearance
 2
 3
 4
 5
 6
 7
 8
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10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25          44.    In parallel to Defendant’s change in branding, Defendant has also sought to
26 wrongfully monopolize the use of the color orange through a scheme to serially register a wide
27 range of trademarks that include the use of the word ORANGE, the color orange on a wide
28 range of common building features and the color orange on a wide range of signs, countertops,
                                                 30
     Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24    Page 31 of 75




 1 canopies, furnishings, displays, and storage doors, thereby attempting to foreclose any
 2 competitors from using the color orange in connection with self-storage services or related
 3 goods and services even though Defendant is fully aware of the industry wide use of the color
 4 orange with self-storage services.
 5          45.    Such applications for trade dress and service marks that incorporate and solely
 6 feature the color orange or feature the word “orange” for self-storage and related services
 7 include the following:
 8
 9             Mark                 Ser. /  Filing / First Use in Goods and Services
                                  Reg. No. Reg. Date Commerce
10                                88746009 Jan. 03,     1972      Class 39: Providing
                                             2020                 self-storage facilities
11                                                                for others; Renting
12                                                                and leasing of private
                                                                  storage spaces;
13                                                                Renting and leasing of
14                                                                climate-controlled
                                                                  storage spaces;
15                                                                Storage of goods
16                                88746025      Jan. 03,       1972       Class 39: Providing
17                                               2020                     self-storage facilities
                                                                          for others; Renting
18                                                                        and leasing of private
19                                                                        storage spaces;
                                                                          Renting and leasing of
20                                                                        climate-controlled
                                                                          storage spaces;
21                                                                        Storage of goods
22                                88623045     Sep. 19,        1972       Class 39: Providing
                                                2019                      self-storage facilities
23                                                                        for others; Renting
24                                                                        and leasing of private
                                                                          storage spaces;
25                                                                        Renting and leasing of
                                                                          climate-controlled
26                                                                        storage spaces;
27                                                                        Storage of goods

28
                                                 31
      Case 2:24-cv-03160-MTL         Document 1     Filed 11/12/24   Page 32 of 75




 1              Mark                   Ser. /  Filing / First Use in Goods and Services
 2                                   Reg. No. Reg. Date Commerce
                                     88623068 Sep. 19,     2011      Class 39: Providing
 3                                              2019                 self-storage facilities
                                                                     for others; Renting
 4
                                                                     and leasing of private
 5                                                                   storage spaces with
                                                                     limited access;
 6                                                                   Renting and leasing of
 7                                                                   climate-controlled
                                                                     storage spaces with
 8                                                                   limited access; storage
                                                                     of goods
 9
10                                   88623084     Sep. 19,      1972      Class 39: Providing
                                                   2019                   self-storage facilities
11                                                                        for others; renting and
12                                                                        leasing of private
                                                                          storage spaces; renting
13                                                                        and leasing of climate-
     The mark consists of the                                             controlled storage
14   color orange as used in                                              spaces; storage of
     connection with self-storage                                         goods
15
     services as applied on
16   buildings, signage, awnings,
     canopies,        furnishings,
17   displays, and countertops.
18
                                     88623145     Sep. 19,    Sep. 1998   Class 39: Providing
19                                                 2019                   self-storage facilities
                                                                          for others; Renting
20
                                                                          and leasing of private
21                                                                        storage spaces;
   The mark consists of the                                               Renting and leasing of
22 color orange as applied to                                             climate-controlled
23 business signage                                                       storage spaces;
                                                                          Storage of goods
24                                   88623262     Sep. 19,    Aug. 1972   Class 39: Providing
                                                   2019                   self-storage facilities
25
                                                                          for others; Renting
26                                                                        and leasing of storage
                                                                          spaces; Storage of
27                                                                        goods
28
                                                   32
     Case 2:24-cv-03160-MTL   Document 1     Filed 11/12/24   Page 33 of 75




 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce

 3   BEHIND THE ORANGE        88623214     Sep. 19,     May 03,    Class 39: Providing
           DOORS              6598358       2019         2021      self-storage facilities
 4
                                           Dec. 21,                for others; providing
 5                                          2021                   self-storage facilities,
                                                                   namely, renting and
 6                                                                 leasing of private
 7                                                                 storage spaces for
                                                                   others; providing self-
 8                                                                 storage facilities,
                                                                   namely, renting and
 9
                                                                   leasing of climate-
10                                                                 controlled storage
                                                                   spaces for others;
11                                                                 storage of goods
12    ORANGE DOOR    87195235              Oct. 06,     Oct. 01,   Class 35: Tenant
   STORAGE INSURANCE 5697798                2016         2016      storage insurance
13      PROGRAM                            Mar. 12,                program, namely,
                                            2019                   insurance claims
14
                                                                   management services
15                                                                 for insurance program
                                                                   offering insurance
16                                                                 coverage to tenants for
17                                                                 their contents stored at
                                                                   self-storage facilities
18
                                                                   Class 36: Tenant
19
                                                                   storage insurance
20                                                                 program, namely,
                                                                   insurance
21                                                                 underwriting and
22                                                                 administration
                                                                   services for insurance
23                                                                 program offering
                                                                   insurance coverage to
24                                                                 tenants for their
25                                                                 contents stored at self-
                                                                   storage facilities
26     ORANGE DOORS           98637899     Jul. 08,                Class 39: Providing
27                                          2024                   self-storage facilities
                                                                   for others; renting and
28                                                                 leasing of storage
                                            33
     Case 2:24-cv-03160-MTL   Document 1     Filed 11/12/24   Page 34 of 75




 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                   spaces; storage of
 3                                                                 goods
         PS ORANGE            98637892     Jul. 08,                Class 39: Providing
 4
                                            2024                   self-storage facilities
 5                                                                 for others; renting and
                                                                   leasing of storage
 6                                                                 spaces; storage of
 7                                                                 goods
                              87503565     Jun. 23,    Sep. 1998   Class 6: Metal Locks;
 8                            6428493       2017                   Metal locks for use in
                                           Jul. 20,                securing storage
 9
                                            2021                   facilities
10
                                                                   Class 7: Packing and
11                                                                 storing materials,
12                                                                 namely, commercial
                                                                   adhesive tape
13                                                                 dispensers machines
                                                                   for commercial use
14
15                                                                 Class 16: Packing
                                                                   paper; Plastic bags for
16                                                                 packing; Plastic
17                                                                 bubble packs for
                                                                   wrapping or
18                                                                 packaging; Plastic
                                                                   film for wrapping or
19
                                                                   packaging; Cardboard;
20                                                                 Cardboard boxes;
                                                                   Cardboard tubes;
21                                                                 Cardboard packaging;
22                                                                 Cardboard containers;
                                                                   Packing and moving
23                                                                 materials made of
                                                                   cardboard, namely,
24                                                                 storage boxes,
25                                                                 wardrobe boxes,
                                                                   television and
26                                                                 microwave boxes,
27                                                                 mirror boxes, lamp
                                                                   boxes, file boxes, dish
28                                                                 barrel boxes, paper
                                            34
     Case 2:24-cv-03160-MTL   Document 1   Filed 11/12/24   Page 35 of 75




 1           Mark              Ser. /     Filing / First Use in    Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                  padding for moving
 3                                                                furniture; Paper tape;
                                                                  Moving kits, namely,
 4
                                                                  kits comprising
 5                                                                supplies for packaging
                                                                  and moving purposes,
 6                                                                namely, cardboard
 7                                                                boxes in a variety of
                                                                  sizes, packing paper,
 8                                                                stretch plastic wrap,
                                                                  adhesive tape and
 9
                                                                  dispenser used for
10                                                                moving and packing
                                                                  for household and
11                                                                commercial use, fitted
12                                                                plastic covers for
                                                                  transporting furniture,
13                                                                plastic bubble-
                                                                  cushioning pouches
14                                                                for wrapping and
15                                                                packaging, packing
                                                                  foam cushioning in
16                                                                sheet and roll form,
17                                                                quilted pads, moving
                                                                  blankets; Plastic film
18                                                                for wrapping; Plastic
                                                                  packing tape for
19                                                                personal household
20                                                                use

21                                                                Class 17: Packing and
22                                                                storing materials,
                                                                  namely, masking tape,
23                                                                adhesive plastic
                                                                  packing tape for
24                                                                commercial use; Low-
25                                                                density polyurethane
                                                                  packaging foam in the
26                                                                form of foam peanuts,
                                                                  foam pouches for
27
                                                                  dishes, plates, glasses
28                                                                and bowls; Plastic
                                           35
     Case 2:24-cv-03160-MTL   Document 1   Filed 11/12/24   Page 36 of 75




 1           Mark              Ser. /     Filing / First Use in    Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                  foam used for storage
 3                                                                and packing; Low-
                                                                  density polyurethane
 4
                                                                  packaging foam in the
 5                                                                form of foam picture
                                                                  corner protectors;
 6                                                                Polystyrene foam
 7                                                                sheets for packing;
                                                                  Plastic cellular
 8                                                                cushioning packing
                                                                  material for packing;
 9
                                                                  Plastic film for
10                                                                packing; Moving
                                                                  blankets in the nature
11                                                                of thermal insulating
12                                                                blankets not of rubber,
                                                                  plastic or paper for use
13                                                                as padding materials
                                                                  for the storage and
14                                                                transportation of
15                                                                goods; Insulation
                                                                  covers for storage and
16                                                                transportation of
17                                                                goods, namely,
                                                                  padded insulating
18                                                                blanket pads not of
                                                                  rubber, plastic or
19                                                                paper
20
                                                                  Class 22: Ropes;
21                                                                Ropes and synthetic
22                                                                ropes; Packing rope;
                                                                  Packing string; Twine;
23                                                                Moving blankets, in
                                                                  the nature of
24                                                                tarpaulins, not of
25                                                                rubber, plastic or
                                                                  paper for use as
26                                                                padding materials
27
                                                                  Class 24: Unfitted
28                                                                padded fabric covers
                                           36
     Case 2:24-cv-03160-MTL   Document 1   Filed 11/12/24   Page 37 of 75




 1           Mark              Ser. /     Filing / First Use in    Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                  for protecting
 3                                                                furniture during
                                                                  packing and moving;
 4
                                                                  Plastic mattress covers
 5                                                                used to protect
                                                                  mattress during
 6                                                                packing and moving;
 7                                                                padding materials,
                                                                  namely, moving
 8                                                                blankets not of rubber,
                                                                  plastic, or paper used
 9
                                                                  for moving and
10                                                                packing

11                                                                Class 35: Retail store
12                                                                services featuring
                                                                  packing, moving and
13                                                                storage goods; Retail
                                                                  store services
14                                                                featuring plastic and
15                                                                paper products for use
                                                                  in packing and
16                                                                moving; Retail store
17                                                                services featuring
                                                                  paper and foam
18                                                                packaging, metal
                                                                  locks, storage boxes,
19                                                                wardrobe boxes,
20                                                                television and
                                                                  microwave boxes,
21                                                                mirror boxes, lamp
22                                                                boxes, file boxes, dish
                                                                  barrel boxes, paper
23                                                                cushioning for
                                                                  packing, newsprint,
24                                                                paper padding for
25                                                                moving furniture,
                                                                  plastic stretch wrap,
26                                                                cellular cushioning
                                                                  packaging material for
27
                                                                  packing, markers and
28                                                                pens, paper tape,
                                           37
     Case 2:24-cv-03160-MTL   Document 1     Filed 11/12/24   Page 38 of 75




 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                   polystyrene foam
 3                                                                 sheets for packing,
                                                                   foam picture corner
 4
                                                                   protectors, plastic
 5                                                                 packing tape, plastic
                                                                   strapping tape, padded
 6                                                                 foam pouches for
 7                                                                 packing dishes and
                                                                   glass items, foam
 8                                                                 peanuts for packing,
                                                                   plastic sacks for
 9
                                                                   protecting furniture,
10                                                                 plastic chair and sofa
                                                                   covers for protecting
11                                                                 furniture, padded
12                                                                 fabric covers, rope and
                                                                   twine, blanket pads
13                                                                 and moving blankets
                              88061941     Aug. 01,     Jun. 25,   Class 36: Commercial
14
                              5860260       2018         2018      real estate
15                                         Sep. 17,                management services;
                                            2019                   real estate services,
16                                                                 namely, management
17                                                                 of self-storage
                                                                   facilities
18                            88623195     Sep. 19,     Dec. 28,   Class 39: Providing
                              6176927       2019         2018      self-storage facilities
19
                                           Oct. 13,                for others; renting and
20                                          2020                   leasing of private
                                                                   storage spaces; renting
21                                                                 and leasing of climate-
22                                                                 controlled storage
                                                                   spaces; storage of
23                                                                 goods
                              98637904     Jul. 08,                Class 35: Insurance
24
                                            2024                   claims auditing
25                                                                 services; Insurance
                                                                   claims auditing
26                                                                 services in the fields
27                                                                 of renters insurance,
                                                                   tenant insurance, and
28                                                                 storage insurance
                                            38
     Case 2:24-cv-03160-MTL   Document 1    Filed 11/12/24   Page 39 of 75




 1           Mark              Ser. /     Filing / First Use in    Goods and Services
 2                            Reg. No.   Reg. Date Commerce

 3                                                                Class 36: Insurance
                                                                  claims processing;
 4
                                                                  Insurance claims
 5                                                                management services;
                                                                  Insurance information
 6                                                                and consultancy;
 7                                                                Insurance
                                                                  underwriting and
 8                                                                administration;
                                                                  Insurance
 9
                                                                  underwriting, issuing,
10                                                                and administration
                                                                  services; Insurance
11                                                                claims processing in
12                                                                the fields of renters
                                                                  insurance, tenant
13                                                                insurance, and storage
                                                                  insurance; Insurance
14                                                                claims management
15                                                                services in the fields
                                                                  of renters insurance,
16                                                                tenant insurance, and
17                                                                storage insurance;
                                                                  Insurance
18                                                                underwriting and
                                                                  administration in the
19                                                                fields of renters
20                                                                insurance, tenant
                                                                  insurance, and storage
21                                                                insurance; Insurance
22                                                                underwriting, issuing,
                                                                  and administration
23                                                                services in the fields
                                                                  of renters insurance,
24                                                                tenant insurance, and
25                                                                storage insurance
                              98637909     Jul. 08,               Class 35: Insurance
26                                          2024                  claims auditing
27                                                                services; Insurance
                                                                  claims auditing
28                                                                services in the fields
                                            39
     Case 2:24-cv-03160-MTL   Document 1     Filed 11/12/24   Page 40 of 75




 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                   of renters insurance,
 3                                                                 tenant insurance, and
                                                                   storage insurance
 4
 5                                                                 Class 36: Insurance
                                                                   claims processing;
 6                                                                 Insurance claims
 7                                                                 management services;
                                                                   Insurance information
 8                                                                 and consultancy;
                                                                   Insurance
 9
                                                                   underwriting and
10                                                                 administration;
                                                                   Insurance
11                                                                 underwriting, issuing,
12                                                                 and administration
                                                                   services; Insurance
13                                                                 claims processing in
                                                                   the fields of renters
14                                                                 insurance, tenant
15                                                                 insurance, and storage
                                                                   insurance; Insurance
16                                                                 claims management
17                                                                 services in the fields
                                                                   of renters insurance,
18                                                                 tenant insurance, and
                                                                   storage insurance;
19                                                                 Insurance
20                                                                 underwriting and
                                                                   administration in the
21                                                                 fields of renters
22                                                                 insurance, tenant
                                                                   insurance, and storage
23                                                                 insurance; Insurance
                                                                   underwriting, issuing,
24                                                                 and administration
25                                                                 services in the fields
                                                                   of renters insurance,
26                                                                 tenant insurance, and
                                                                   storage insurance
27
                              87195245     Oct. 06,     Oct. 01,   Class 35: Tenant
28                            5697799       2016         2016      storage insurance
                                            40
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 41 of 75




 1              Mark                 Ser. /      Filing / First Use in Goods and Services
 2                                  Reg. No.    Reg. Date Commerce
                                                 Mar. 12,              program, namely,
 3                                                2019                 insurance claims
                                                                       management services
 4
                                                                       for insurance program
 5                                                                     offering insurance
                                                                       coverage to tenants for
 6                                                                     their contents stored at
 7                                                                     self-storage facilities

 8                                                                          Class 36: Tenant
                                                                            storage insurance
 9
                                                                            program, namely,
10                                                                          insurance
                                                                            underwriting and
11                                                                          administration
12                                                                          services for insurance
                                                                            program offering
13                                                                          insurance coverage to
                                                                            tenants for their
14                                                                          contents stored at self-
15                                                                          storage facilities

16           46.    Notably, Defendant’s attempts to register and registration of the various

17 depictions of the color orange above is improper because filing the applications to register the
18 trade dress above required that Defendant knowingly represent that it believed that it had
19 substantially exclusive use of the applied-for orange trade dress and/or that the applied-for
20 orange trade dress has acquired distinctiveness for Defendant’s services despite knowing that
21 in addition to U-Haul’s longstanding and extensive use of the color orange, there are hundreds
22 of independent third-party self-storage providers that use the color orange in connection with
23 self-storage services. Many of those applications have been rejected by the USPTO.
24           47.    Defendant is now improperly relying on its registrations for marks that

25 include the term “orange,” including its’ fraudulently maintained registrations, as an
26 additional basis for seeking to exclude U-Haul and others from using the color orange in
27 connection with self-storage services.
28
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     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24     Page 42 of 75




 1           48.    As such, Defendant’s attempts to register the trade dress and service marks
 2 listed above are improper and are part of a wrongful attempt to monopolize the color orange
 3 and the term “orange” for its own use in connection with self-storage services.
 4           49.    In addition, Defendant’s scattershot efforts to register various orange building
 5 trade dress stand in stark contrast to a typical trade dress registration. A business seeking to
 6 protect its building design trade dress typically seeks to register a specific, distinctive, and
 7 unique feature of trade dress. In contrast, Defendant has filed multiple registrations covering
 8 various indistinct portions of buildings. For example, in application Ser. Nos. 88623068 and
 9 88623084, Defendant seeks to broadly register the color orange “as used in connection with
10 self-storage services as applied on buildings, signage, awnings, canopies, furnishings,
11 displays, and countertops” (Ser. No. 88623068) and “as applied to business signage” (Ser.
12 No. 88623084) without claiming a specific distinctive design feature. These scattershot
13 trademark applications appear designed to prevent others in the self-storage industry from
14 using the color orange in any capacity on the exterior of a building. These broad claims to an
15 exclusive right to use the color orange in connection with self-storage services are also
16 improper given the longstanding and widespread use of the color by hundreds of third party
17 self-storage providers.
18
         Defendant’s Deceptive and Fraudulent Maintenance of its Registration for the
19        ORANGE STORAGE Mark (Reg. No. 5083797) Asserted Against U-Haul
20           50.    On information and belief, on February 26, 2016, a third party that is
21 completely unrelated to Defendant, IEP Group, LLC (“IEP”), filed an application to register
22 the ORANGE STORAGE mark (Ser. No. 86920897) for “Providing self-storage facilities for
23 others” in Class 39 based on an intent to use the mark in connection with those services. A
24 true and correct copy of this application is attached hereto as Exhibit G.
25           51.    Based upon U-Haul’s investigation and on information and belief, this
26 ORANGE STORAGE mark was adopted by IEP as part of a larger business concept that was
27 intended to offer commercial storage solutions of varying sizes and types (covered, enclosed,
28 outdoor, etc.,) to companies working in the oil exploration industry in Midland, Texas. This
                                                   42
     Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24    Page 43 of 75




 1 was a business venture that was completely separate and distinct from Public Storage and the
 2 self-storage solutions offered by Public Storage.
 3          52.    On September 20, 2016, IEP filed a Statement of Use in connection with the
 4 ORANGE STORAGE application alleging first use of the mark on March 1, 2016 and
 5 submitting a specimen of use showing use of the ORANGE STORAGE mark in connection
 6 with its new business concept branded as “Orange Storage” and with the services recited in
 7 the application. A true and correct copy of the Statement of Use is attached hereto as Exhibit
 8 H.
 9          53.    The USPTO accepted IEP’s Statement of Use, and on November 15, 2016
10 issued a registration for the ORANGE STORAGE mark to IEP (Reg. No. 5083797) for
11 “Providing self-storage facilities for others” in in Class 39 (the “ORANGE STORAGE
12 Registration”). A true and correct copy of the registration certificate for the ORANGE
13 STORAGE mark is attached hereto as Exhibit I.
14          54.    On November 19, 2018, IEP assigned the ORANGE STORAGE Registration
15 to Defendant. A true and correct copy of the assignment is attached hereto as Exhibit J.
16          55.    Based on U-Haul’s investigation and on information and belief, Defendant
17 did not use the ORANGE STORAGE mark after obtaining the mark from IEP in 2018. Facing
18 a November 15, 2022 deadline for filing a Declaration of Use under 15 U.S.C. §1058 (a
19 “Section 8 Declaration”) required to maintain the ORANGE STORAGE Registration,
20 Defendant added the ORANGE STORAGE mark to a pre-existing blog titled “The Organized
21 Life” accessible on Defendant’s website solely to create a specimen of use to submit to the
22 USPTO with its Section 8 Declaration.
23          56.    Notably, Defendant did not file a Declaration of Incontestability under
24 Section 15 (a “Section 15 Declaration”) with the Section 8 Declaration it filed in connection
25 with the ORANGE STORAGE Registration. Registrants typically file a Section 15
26 Declaration with a Section 8 Declaration if the registered mark had been in continuous use in
27 United States commerce for five consecutive years after the date of registration. Defendant’s
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     Case 2:24-cv-03160-MTL       Document 1     Filed 11/12/24    Page 44 of 75




 1 failure to file a Section 15 Declaration indicates Defendant had not used the ORANGE
 2 STORAGE mark since obtaining the mark from IEP in 2018.
 3          57.    As shown below and in Exhibit K, as late as March 9, 2022, Defendant’s The
 4 Organized Life blog did not display the ORANGE STORAGE mark:
 5
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17          58.    However, based on U-Haul’s investigation and on information and belief,

18 shortly before Defendant filed is Section 8 Declaration in connection with the ORANGE
19 STORAGE Registration on June 6, 2022, Defendant added the ORANGE STORAGE mark
20 to its The Organized Life blog. Defendant then submitted a printout of the blog captured on
21 May 12, 2022, as the specimen of use with its Section 8 Declaration in which Defendant
22 declared under penalty of perjury pursuant to 18 U.S.C. §1001 that the ORANGE STORAGE
23 mark was in use in United States commerce in connection with the services recited in the
24 Registration (“providing self-storage facilities for others.”) A true and correct copy of
25 Defendant’s Section 8 Declaration attached hereto as Exhibit L and an image of the purported
26 use of the ORANGE STORAGE mark submitted with the Declaration is included below:
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28
                                                44
      Case 2:24-cv-03160-MTL     Document 1     Filed 11/12/24   Page 45 of 75




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             59.   In connection Defendant’s Section 8 Declaration, Defendant submitted the
15
     Declaration of Steven C. Babinski, Defendant’s Associate General Counsel, Corporate &
16
     Securities, declaring that that the ORANGE STORAGE mark was in bona fide use in United
17
     States commerce in connection with “providing self-storage facilities for others.” (see
18
     Exhibit L.)
19
             60.   As shown below and in Exhibit M attached hereto, less than a month after
20
     filing its Section 8 Declaration, Defendant removed the ORANGE STORAGE mark from its
21
     The Organized Life blog:
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      Case 2:24-cv-03160-MTL       Document 1     Filed 11/12/24    Page 46 of 75




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             61.    Based on U-Haul’s investigation and on information and belief, Defendant,
15
     through Mr. Babinski, knowingly and with intent to deceive the USPTO, falsely represented
16
     in Defendant’s Section 8 Declaration that the ORANGE STORAGE mark was in bona fide
17
     use in United States commerce in connection with the services recited in the Registration,
18
     when it was not.
19
             62.    As a result of Defendant’s submission of the foregoing fraudulent Section 8
20
     Declaration, on November 23, 2022, the USPTO relied upon Defendant’s deceptive and
21
     fraudulent representations in accepting Defendant’s Section 8 Declaration and maintained the
22
     ORANGE STORAGE Registration. A true and correct copy of the acceptance is attached
23
     hereto as Exhibit N.
24
             63.    Furthermore, Defendant has ceased use of the ORANGE STORAGE mark in
25
     commerce and, on information and belief, has no intent to resume such use. Therefore,
26
     Defendant has abandoned the ORANGE STORAGE mark.
27
28
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      Case 2:24-cv-03160-MTL          Document 1    Filed 11/12/24    Page 47 of 75




 1      Defendant’s Deceptive and Fraudulent Maintenance of its Registration for the
 2     ORANGE IS THE NEW SIZE Mark (Reg. No. 5197479) Asserted Against U-Haul
              64.    On August 29, 2016, IEP also filed an application to register the ORANGE
 3
     IS THE NEW SIZE mark (Ser. No. 87154001) for “Providing self-storage facilities for
 4
     others” in Class 39 based on an intent to use the mark in connection with those services. A
 5
     true and correct copy of this application is attached hereto as Exhibit O.
 6
              65.    Based upon U-Haul’s investigation and on information and belief, the
 7
     ORANGE IS THE NEW SIZE mark was adopted and presented by IEP as the slogan
 8
     promoting IEP’s new concept of flexible storage solutions to its commercial clients working
 9
     in the oil exploration sector.
10
              66.    On March 15, 2017, IEP filed a Statement of Use in connection with the
11
     application alleging first use of the mark on March 1, 2016 and submitting a specimen of use
12
     showing use of the ORANGE IS THE NEW SIZE mark. A true and correct copy of the
13
     Statement of Use is attached hereto as Exhibit P.
14
              67.    The USPTO accepted IEP’s Statement of Use, and on May 2, 2017 issued a
15
     registration for the ORANGE IS THE NEW SIZE mark to IEP (Reg. No. 5197479) for
16
     “Providing self-storage facilities for others” in in Class 39 (the “ORANGE IS THE NEW
17
     SIZE Registration”). A true and correct copy of the registration certificate for the ORANGE
18
     IS THE NEW SIZE mark is attached hereto as Exhibit Q.
19
              68.    On November 19, 2018, IEP assigned the ORANGE IS THE NEW SIZE to
20
     Defendant. See Exhibit J.
21
              69.    Based on U-Haul’s investigation and on information and belief, Defendant
22
     did not use the ORANGE IS THE NEW SIZE mark after obtaining the mark from IEP in
23
     2018. Facing a May 2, 2023 deadline for filing a Section 8 Declaration required to maintain
24
     the ORANGE IS THE NEW SIZE Registration, Defendant added the ORANGE IS THE
25
     NEW SIZE mark as a section heading to a pre-existing article entitled “Fall Cleaning Tips:
26
     What to Declutter and Store this Season” posted to Defendant’s The Organized Life blog (the
27
28
                                                   47
     Case 2:24-cv-03160-MTL          Document 1   Filed 11/12/24   Page 48 of 75




 1 “Fall Cleaning Article”) on Defendant’s website solely to create a specimen of use to submit
 2 with its Section 8 Declaration.
 3          70.    Notably, Defendant did not file a Section 15 Declaration with the Section 8
 4 Declaration it filed in connection with the ORANGE IS THE NEW SIZE Registration.
 5 Defendant’s failure to file a Section 15 Declaration indicates Defendant had not used the
 6 ORANGE IS THE NEW SIZE mark since obtaining the mark from IEP in 2018.
 7          71.    As shown below and in Exhibit R, prior to adding the ORANGE IS THE
 8 NEW SIZE mark as a section heading in the Fall Cleaning Article, the section heading was
 9 titled as “A Storage Unit Could Help”:_
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     Case 2:24-cv-03160-MTL       Document 1     Filed 11/12/24   Page 49 of 75




 1          72.    However, based on U-Haul’s investigation and on information and belief,
 2 shortly before Defendant filed is Section 8 Declaration in connection with the ORANGE IS
 3 THE NEW SIZE Registration on April 7, 2023, Defendant replaced the “A Storage Unit
 4 Could Help” heading in the Fall Cleaning Article with the ORANGE IS THE NEW SIZE
 5 mark. Defendant then submitted a printout of the Fall Cleaning Article captured on April 6,
 6 2023 as the specimen of use with its Section 8 Declaration in which Defendant declared under
 7 penalty of perjury pursuant to 18 U.S.C. §1001 that the ORANGE IS THE NEW SIZE mark
 8 was in use in United States commerce in connection with the services recited in the
 9 Registration (“providing self-storage facilities for others.”) A true and correct copy of
10 Defendant’s Section 8 Declaration is attached hereto as Exhibit S and an image of the
11 purported use of the ORANGE IS THE NEW SIZE mark submitted with the Declaration is
12 included below:
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      Case 2:24-cv-03160-MTL          Document 1     Filed 11/12/24     Page 50 of 75




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              73.    Based on U-Haul’s investigation and on information and belief, Defendant
 8
     had not used the ORANGE IS THE NEW SIZE mark in any way other than as a section
 9
     header in the Fall Cleaning Article, which does not constitute bona fide trademark use of the
10
     mark in connection with the services recited in the ORANGE IS THE NEW SIZE registration.
11
              74.    Notably, the fraudulent specimen dated April 7, 2023, also shows use of the
12
     ORANGE STORAGE mark even though that mark was removed from Public Storage’s blog
13
     on July 5, 2022, according to U-Haul’s investigation. Upon information and belief, Defendant
14
     inserted the ORANGE STORAGE mark in the blog article submitted to the USPTO to further
15
     deceive the USPTO and conceal the fraud being perpetrated by Defendant.
16
              75.    In connection with Defendant’s Section 8 Declaration, Defendant submitted
17
     the Declaration of Steven C. Babinski, Defendant’s Associate General Counsel, Corporate &
18
     Securities, declaring t penalty of perjury pursuant to 18 U.S.C. § 1001 that the ORANGE IS
19
     THE NEW SIZE mark was in bona fide use in United States commerce in connection with
20
     “providing self-storage facilities for others.” (see Exhibit S.)
21
              76.    Based on U-Haul’s investigation and on information and belief, Defendant,
22
     through Mr. Babinski, knowingly and with intent to deceive the USPTO, falsely represented
23
     in Defendant’s Section 8 Declaration that the ORANGE IS THE NEW SIZE mark was in
24
     bona fide use in United States commerce in connection with the services recited in the
25
     Registration, when it was not.
26
              77.    As a result of Defendant’s submission of the foregoing fraudulent Section 8
27
     Declaration, on September 5, 2023, the USPTO relied upon Defendant’s deceptive and
28
                                                    50
     Case 2:24-cv-03160-MTL        Document 1     Filed 11/12/24    Page 51 of 75




 1 fraudulent representations in accepting Defendant’s Section 8 Declaration and maintained the
 2 ORANGE IS THE NEW SIZE Registration. A true and correct copy of the acceptance is
 3 attached hereto as Exhibit T.
 4          78.    In addition, based on U-Haul’s investigation and on information and belief,
 5 prior to April 6, 2023, which is the day on which Defendant captured the Fall Cleaning Article
 6 for use as the specimen of use for the Section 8 Declaration for the ORANGE IS THE NEW
 7 SIZE Registration, the ORANGE STORAGE mark did not appear in the Fall Cleaning
 8 Article. However, upon investigation and on information and belief, Defendant added the
 9 ORANGE STORAGE mark to the Fall Cleaning Article for the version captured for the
10 specimen of use, and then removed the mark from the Fall Cleaning Article shortly thereafter
11 as shown below and in Exhibits S, U, and V.
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     Case 2:24-cv-03160-MTL   Document 1   Filed 11/12/24   Page 52 of 75




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      Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24    Page 53 of 75




 1           79.     Upon information and belief, Defendant added the ORANGE STORAGE
 2 mark to the version of the Fall Cleaning Article used for the specimen of use for the Section
 3 8 Declaration for the ORANGE IS THE NEW SIZE mark in an attempt to conceal its
 4 fraudulent and improper addition and then removal of the mark from Defendant’s The
 5 Organized Life blog described above.
 6           80.     Furthermore, Defendant has ceased use of the ORANGE IS THE NEW SIZE
 7 mark in commerce and, on information and belief, has no intent to resume such use.
 8 Therefore, Defendant has abandoned the ORANGE IS THE NEW SIZE mark.
 9       Defendant’s Abandonment of the ORANGE DOOR STORAGE INSURANCE
10                      PROGRAM and Design Mark (Reg. No. 5697799)
11           81.     On October 6, 2016, Defendant filed an application, a copy of which is
12 attached hereto as Exhibit W with the USPTO to register the ORANGE DOOR STORAGE
13 INSURANCE PROGRAM and Design mark pictured below (the “Orange and Purple
14 Insurance Mark”) for “Tenant storage insurance program, namely, insurance underwriting,
15 administration and claims management services for insurance program offering insurance
16 coverage to tenants for their contents stored at self-storage facilities” in Class 35 and “and
17 “Tenant storage insurance program, namely, insurance underwriting and administration
18 services for insurance program offering insurance coverage to tenants for their contents stored
19 at self-storage facilities” in Class 36 based on an intent to use the mark in connection with
20 those services:
21
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             82.     On December 12, 2018, Defendant filed a Statement of Use, a copy of which
27
     is attached hereto as Exhibit X in connection with the application with a specimen of use
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                                                  53
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 54 of 75




 1 showing the following use of the Orange and Purple Insurance Mark and alleging the mark
 2 was first used in United States commerce in connection with the services recited in the
 3 application on October 1, 2016:
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 6
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13           83.    The USPTO accepted Defendant’s Statement of Use, and, on March 12, 2019,
14 issued a registration for the Orange and Purple Insurance Mark (Reg. No. 5697799) for
15 “Tenant storage insurance program, namely, insurance claims management services for
16 insurance program offering insurance coverage to tenants for their contents stored at self-
17 storage facilities” in Class 35 and “Tenant storage insurance program, namely, insurance
18 underwriting and administration services for insurance program offering insurance coverage
19 to tenants for their contents stored at self-storage facilities” in Class 36. A true and correct
20 copy of the registration certificate is attached hereto as Exhibit Y.
21           84.    Subsequently, in July 2024, Defendant filed the following two applications to
22 register new versions of the ORANGE DOOR STORAGE INSURANCE PROGRAM mark
23 (collectively, the “New Orange and Blue Insurance Marks”) with a new design element and
24 claiming the colors orange and blue rather than the colors orange and purple:
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26
27
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     Case 2:24-cv-03160-MTL   Document 1     Filed 11/12/24   Page 55 of 75




 1           Mark             Ser. No.      Filing            Goods and Services
 2                                          Date
                              98637909     Jul. 08,   Class 35: Insurance claims
 3                                          2024      auditing services; Insurance claims
                                                      auditing services in the fields of
 4
                                                      renters insurance, tenant insurance,
 5                                                    and storage insurance

 6                                                    Class 36: Insurance claims
 7                                                    processing; Insurance claims
                                                      management services; Insurance
 8                                                    information and consultancy;
                                                      Insurance underwriting and
 9
                                                      administration; Insurance
10                                                    underwriting, issuing, and
                                                      administration services; Insurance
11                                                    claims processing in the fields of
12                                                    renters insurance, tenant insurance,
                                                      and storage insurance; Insurance
13                                                    claims management services in the
                                                      fields of renters insurance, tenant
14                                                    insurance, and storage insurance;
15                                                    Insurance underwriting and
                                                      administration in the fields of
16                                                    renters insurance, tenant insurance,
17                                                    and storage insurance; Insurance
                                                      underwriting, issuing, and
18                                                    administration services in the fields
                                                      of renters insurance, tenant
19                                                    insurance, and storage insurance
20                            98637904     Jul. 08,   Class 35: Insurance claims
                                            2024      auditing services; Insurance claims
21                                                    auditing services in the fields of
22                                                    renters insurance, tenant insurance,
                                                      and storage insurance
23
                                                      Class 36: Insurance claims
24                                                    processing; Insurance claims
25                                                    management services; Insurance
                                                      information and consultancy;
26                                                    Insurance underwriting and
27                                                    administration; Insurance
                                                      underwriting, issuing, and
28                                                    administration services; Insurance
                                            55
     Case 2:24-cv-03160-MTL      Document 1     Filed 11/12/24   Page 56 of 75




 1            Mark                Ser. No.     Filing            Goods and Services
 2                                             Date
                                                         claims processing in the fields of
 3                                                       renters insurance, tenant insurance,
                                                         and storage insurance; Insurance
 4
                                                         claims management services in the
 5                                                       fields of renters insurance, tenant
                                                         insurance, and storage insurance;
 6                                                       Insurance underwriting and
 7                                                       administration in the fields of
                                                         renters insurance, tenant insurance,
 8                                                       and storage insurance; Insurance
                                                         underwriting, issuing, and
 9
                                                         administration services in the fields
10                                                       of renters insurance, tenant
                                                         insurance, and storage insurance
11
12          85.    Based on U-Haul’s investigation and on information and belief, Defendant
13 has ceased its use of the Orange and Purple Insurance Mark and is now using one or both of
14 the New Orange and Blue Insurance Marks as shown below and in Exhibit Z attached hereto:
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26          86.    Defendant itself has admitted that it ceased use of the Orange and Purple
27 Insurance Mark as of 2023 and replaced it with the New Orange and Blue Insurance Marks
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     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 57 of 75




 1 with a prominent announcement of such transition on its “Our History” page of its website,
 2 www.orangedoorstorageinsurance.com, as shown below and in Exhibit AA attached hereto:
 3
 4
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15
16           87.    This change in the appearance of the ORANGE DOOR STORAGE
17 INSURANCE PROGRAM mark is consistent with Defendant’s overall shift away from the
18 use of marks displaying the colors purple and orange detailed above.
19           88.    Based on U-Haul’s investigation and on information and belief, Defendant
20 has abandoned the Orange and Purple ORANGE DOOR STORAGE Mark with no intent to
21 resume such use of the Mark.
22
      Extensive and Nationwide Third-Party Use of the Color Orange in Connection with
23    Self-Storage Services Undercuts Defendant’s Claim to Exclusive Rights to the Color
24                                         Orange

25           89.    Any claim by Defendant that it has any kind of exclusive right to use the color
26 orange in connection with self-storage services, that the color has acquired distinctiveness for
27 Defendant’s self-storage services, and/or that other self-storage service providers’ use of the
28
                                                  57
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 58 of 75




 1 color orange violates any alleged right of Defendant is severely undercut by the fact that there
 2 are hundreds of third-party self-storage providers that use the color orange in connection with
 3 their self-storage services.
 4           90.    These third-party self-storage providers utilize the color orange in a wide
 5 array of formats on their self-storage facilities, signage, and other marketing materials,
 6 examples of which are pictured below and in Exhibit CC attached hereto.
 7
 8        Palmdale, California             Killeen, Texas               Lawton, Oklahoma

 9
10
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15        Indianapolis, Indiana          Middletown, Texas              Ellisville, Missouri
16
17
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20
21
         Hamden, Connecticut            Summerfield, Florida          Michigan City, Indiana
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     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 59 of 75




 1
 2           91.    This extensive, widespread nationwide use of the color orange in connection
 3 with self-storage services, including U-Haul’s longstanding and nationwide use of the color
 4 orange in connection with its Self-Moving and Storage Services, demonstrates that the color
 5 when used in connection with such services does not and cannot function as a source identifier
 6 for any one particular self-storage service provider. While consumers may, and likely do,
 7 associate the color orange with self-storage services, they do not associate the color with a
 8 single provider of those services. As such, Defendant cannot plausibly claim the color, or any
 9 particular application of the color, has acquired distinctiveness as an indicator of Defendant’s
10 services. As such, Defendant’s claims that the color orange has acquired distinctiveness for its
11 services are improper and false. Defendant is attempting to pull a fast one on the USPTO,
12 bootstraping an unsustainable claim of ownership of the color orange, and bullying other long-
13 time users of orange trade dress.
14           92.    Given the extensive third-party use of the color orange in connection with self-
15 storage services, in April 2024, U-Haul filed Letters of Protest, copies of which are attached
16 as Exhibit BB attached hereto, with the USPTO against Defendant’s application Ser. Nos.
17 88623084, 88623068, 88623262, 88746009, 88623145, 88623045, and 88746025 to register
18 the following orange trade dress below. The Letters of Protest informed the USPTO of the
19 extensive use of the color orange in connection with self-storage services and facilities to
20 provide the USPTO with facts necessary for it to determine whether Defendant’s purported
21 trademarks for orange building features, signage and displays failed to function as a source
22 identifier for Defendant’s services recited in the subject applications:
23
24                 Mark                Ser. No.                 Goods and Services
                                       88623084 Class 39: Providing self-storage facilities for
25
                                                others; renting and leasing of private storage
26                                              spaces; renting and leasing of climate-
                                                controlled storage spaces; storage of goods
27
28
                                                   59
     Case 2:24-cv-03160-MTL      Document 1      Filed 11/12/24   Page 60 of 75




 1               Mark                 Ser. No.               Goods and Services
 2   The mark consists of the color
     orange as used in connection
 3
     with self-storage services as
 4   applied on buildings, signage,
     awnings,             canopies,
 5   furnishings, displays, and
 6   countertops.

 7
                                      88623068 Class 39: Providing self-storage facilities for
 8                                             others; Renting and leasing of private storage
 9                                             spaces with limited access; Renting and leasing
                                               of climate-controlled storage spaces with
10                                             limited access; storage of goods
11
12                                    88623262 Class 39: Providing self-storage facilities for
                                               others; Renting and leasing of storage spaces;
13                                             Storage of goods
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18                                    88746009 Class 39: Providing self-storage facilities for
                                               others; Renting and leasing of private storage
19                                             spaces; Renting and leasing of climate-
                                               controlled storage spaces; Storage of goods
20
21
                                      88623145 Class 39: Providing self-storage facilities for
22                                             others; Renting and leasing of private storage
                                               spaces; Renting and leasing of climate-
23                                             controlled storage spaces; Storage of goods
24
25   The mark consists of the color
     orange as applied to business
26   signage
27
28
                                                 60
      Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24     Page 61 of 75




 1                  Mark                 Ser. No.                  Goods and Services
 2                                      88623045 Class 39: Providing self-storage facilities for
                                                 others; Renting and leasing of private storage
 3
                                                 spaces; Renting and leasing of climate-
 4                                               controlled storage spaces; Storage of goods
 5
                                        88746025 Class 39: Providing self-storage facilities for
 6
                                                 others; Renting and leasing of private storage
 7                                               spaces; Renting and leasing of climate-
                                                 controlled storage spaces; Storage of goods
 8
 9           93.      In support of the letters of protest, U-Haul submitted printouts from the website

10 https://everyoneusesorangestoragedoors.com/, the domain for which U-Haul registered and
11 which U-Haul created and operates. The contents of those website printouts demonstrated that
12 the color orange is used by hundreds of independent locations owned by third parties that
13 provide self-storage facilities around the country, and that such evidence is relevant to the
14 issues of whether Defendant’s applied for trade dress functions as a source identifier and
15 whether Defendant has substantially exclusive use of the applied for trade dress. See Exhibits
16 BB and CC.
17        94.         Specifically, the evidence submitted with the letters of protest identifies, by

18 way of example only, the following:
19            More than 800 independent locations using orange on their buildings (including
20             on the storage doors on the outside of the building) in connection with storage
               services; and
21
                  More than 200 independent locations using orange signage, awnings, canopies,
22                 displays and the like in connection with storage services.
23
     See Exhibit BB.
24
             95.      The USPTO issued Letter of Protest Memorandums in connection with
25
     Defendant’s application Ser. Nos. 88623084 and 88623068 stating that the evidence submitted
26
     with U–Haul’s Letters of Protest is relevant to the Examining Attorney’s refusal to register the
27
     applied-for trade dress on the ground that the trade dress is a non-distinctive color mark that
28
                                                     61
     Case 2:24-cv-03160-MTL       Document 1      Filed 11/12/24    Page 62 of 75




 1 does not function as a service mark. Copies of the USPTO’s Letter of Protest Memorandums
 2 are attached hereto as Exhibit DD.
 3       DEFENDANT’S ALLEGATIONS OF INFRINGEMENT, DILUTION, AND
 4      DEMANDS THAT U-HAUL CEASE ITS USE OF THE COLOR ORANGE IN
                CONNECTION WITH SELF-STORAGE SERVICES
 5
 6          96.    In addition to seeking to register, obtaining registrations, and fraudulently
 7 maintain registrations for various trade dress and service marks that incorporate the color
 8 orange and word marks containing the word ORANGE for self-storage and related services
 9 based on improper claims the color has acquired distinctiveness for such marks for Defendant’s
10 services, Defendant has taken additional steps to improperly seek to exclude others from using
11 the color orange in connection with the same or similar services.
12          97.    On May 26, 2020, Defendant filed a Petition for Cancellation with the USPTO
13 Trademark Trial and Appeal Board (Cancellation Proceeding No. 92074328, the “Cancellation
14 Proceeding”) seeking the cancellation of U-Haul’s Registration No. 2286782 (“U-Haul’s
15 Orange Door Registration”) for the trade dress below that depicts ten windows arranged along
16 two perpendicular edges of a building with orange storage doors visible through the windows
17 (“U-Haul’s Orange Door Trade Dress”), reciting “retail store services featuring packaging and
18 moving supplies” in Class 35 and “self-storage services; rental of moving vans and trucks” in
19 Class 39:
20
21
22
23
24 A copy of Defendant’s Petition for Cancellation is attached hereto as Exhibit EE.
25          98.    In its Petition, Defendant alleged that it possessed prior rights in the “Orange

26 Door Trade Dress” and “Orange Window Design Trade Dress” pictured below and that the
27 continued registration of U-Haul’s Orange Door Trade Dress is likely to cause confusion with
28 Defendant’s alleged prior rights:
                                                 62
      Case 2:24-cv-03160-MTL          Document 1     Filed 11/12/24     Page 63 of 75




 1
 2              Defendant’s Alleged Orange               Defendant’s Alleged Orange Window
 3                     Door Trade Dress                           Design Trade Dress
 4
 5
 6
 7
                99.    The parties engaged in several years of settlement negotiations, including the
 8
     exchange of multiple drafts of a settlement agreement. During that time, Public Storage
 9
     revealed its scheme to U-Haul.
10
                100.   Among other things, Public Storage represented to U-Haul that it was
11
     originally trying to cancel U-Haul’s registration so it could get its own orange registrations to
12
     go after the “mom-and-pop” small proprietor storage facilities that use the color orange to
13
     exclude the third-party proprietors from being able to use the color orange in connection with
14
     such self-storage services. Public Storage wanted U-Haul to join this improper scheme.
15
                101.   Among other things, during the negotiations, Public Storage tried to entice U-
16
     Haul into entering into a licensing arrangement that furthered Public Storage’s scheme to go
17
     after these mom-and-pop storage facilities. However, U-Haul refused to be a party to this
18
     scheme and the parties settlement negotiations broke down.
19
                102.   Three days prior to the deadline for U-Haul to respond to Defendant’s Petition
20
     for Cancellation, on March 15, 2024, Defendant unilaterally withdrew its Petition without
21
     prejudice. A copy of Defendant’s withdrawal is attached hereto as Exhibit FF.
22
                103.   Upon information and belief, Defendant’s improper efforts to exclude others
23
     from using the color orange is also evidenced by Defendant’s efforts to send cease and desist
24
     letters to other third-party self-storage providers demanding that they discontinue using the
25
     color orange. Defendant’s trademark enforcement efforts are so robust and sophisticated that
26
     it has outsourced such activities to a third-party consultant that specializes in such enforcement
27
     efforts.
28
                                                    63
     Case 2:24-cv-03160-MTL        Document 1       Filed 11/12/24       Page 64 of 75




 1           104.   Defendant’s improper efforts to exclude others from using the color orange is
 2 further demonstrated by the fact that on May 16, 2023, Defendant sent U-Haul’s sister
 3 company, Repwest Insurance Company (“Repwest”), which offers insurance for self-storage
 4 units, an email alleging that Repwest was using the mark ORANGE DOOR STORAGE
 5 INSURANCE PROGRAM on its website https://www.ponderosainsurance.com/ and that such
 6 use creates and is likely to continue to cause consumer confusion as to the source of Repwest’s
 7 insurance services. A copy of Defendant’s email is attached hereto as Exhibit GG. However,
 8 Repwest was not and is not using the mark ORANGE DOOR STORAGE INSURANCE
 9 PROGRAM.
10           105.   Upon information and belief, Repwest’s use of the PONDEROSA and Orange
11 Door design mark pictured below, for which Repwest owns a registration (Reg. No. 5296154),
12 prompted Defendant’s letter:
13
14
15
16           106.   In response to Defendant’s email, Repwest sought clarification from
17 Defendant concerning whether Defendant objected to Repwest’s use of the PONDEROSA and
18 Orange Door design mark pictured above and also noted the given Repwest’s relation to U-
19 Haul, its promotional material relating to self-storage insurance services will include orange-
20 colored doors. See Exhibit GG. Repwest did not receive a reply from Defendant.
21           107.   On July 24, 2024, Defendant sent U-Haul an email, a copy of which is attached
22 hereto    as     Exhibit   HH     (the   “July        24   Email”),    concerning     the   website
23 https://everyoneusesorangestoragedoors.com/ website claiming that U-Haul is “using
24 ORANGE in connection with self-storage goods or services at the Domain Name and Website
25 without authorization.”
26           108.   The July 24 Email further made the following allegations:
27
28
                                                    64
     Case 2:24-cv-03160-MTL       Document 1       Filed 11/12/24    Page 65 of 75




 1           U-Haul’s “unauthorized use of the ORANGE Marks or a confusingly similar
 2            variation thereof for self-storage goods or services constitutes at least trademark
              infringement and dilution in violation of federal and state trademark laws, and is
 3            likely to cause confusion, mistake and deception as to the potential existence of
              an affiliation, connection or association between you and Public Storage where
 4
              none exists.”
 5           U-Haul’s “use of the ORANGE Marks in the Domain Name also violates the
              ICANN Uniform Domain Name Dispute Resolution Policy to which the Domain
 6            Name is subject, since you have no trademark rights or interest in the ORANGE
 7            Marks or any confusingly similar version thereof, and are using such marks for
              commercial gain.”
 8
             U-Haul’s “actions also violate the Anticybersquatting Consumer Protection Act
 9
              (15 U.S.C. §1125(d)) - a federal statute which provides a cause of action with
10            respect to those who, with a bad faith intent to profit, register or traffic in or use
              domain names that are identical or confusingly similar to the trademarks of others.
11
12   See Exhibit HH.

13          109.  In the July 24 Email, Defendant also demanded that U-Haul do the following:
             Cease and desist from any and all use of the ORANGE Marks and orange color,
14            including any misspellings or similarly confusing versions thereof, in the Domain
15            Name and on the Website.

16             Remove any and all references to the word ORANGE and any misspellings or
                confusingly similar versions thereof from any meta tags, HTML code, keyword
17              files, SEO tags, domain names, social media content or handles, and text or other
18              advertising materials associated with you or your business.

19   See Exhibit HH.

20          110.   In the July 24 Email, Defendant provides the following description of its
21 alleged orange marks (collectively, “Defendant’s Alleged Orange Marks”) as the basis for its
22 allegations and demands in the July 24 Email:
23          Public Storage is the owner of numerous trademarks, including but not
            limited to, the ORANGE STORAGE®, ORANGE DOOR STORAGE
24
            INSURANCE PROGRAM®, BEHIND THE ORANGE DOORS®, and
25          ORANGE IS THE NEW SIZE® trademarks (“ORANGE Marks”). Public
            Storage owns exclusive trademark rights to the ORANGE Marks as a result
26          of numerous trademark registrations, as well as its related common law
27          rights, including U.S. Reg. Nos. 5,083,797, 5,197,479, 5,697,798, 5,697,799,
            and 6,598,358. The ORANGE Marks are well known among consumers and
28          embody substantial and valuable goodwill. As such, the ORANGE Marks
                                                  65
      Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 66 of 75




 1           are a valuable asset, and their protection is very important to Public Storage.
 2           Public Storage also has an obligation to consumers and those in the industry
             to police against the unauthorized registration and use of its marks, or marks
 3           similar thereto, and prevent consumer confusion.
 4
             111.    Notably, in the July 24 Email, Defendant asserts its registrations for the
 5
     ORANGE STORAGE, ORANGE IS THE NEW SIZE, and ORANGE DOOR STORAGE
 6
     INSURANCE PROGRAM and Design marks (Reg. Nos. 5083797, 5197479, and 5697799),
 7
     which Defendant has fraudulently maintained (ORANGE STORAGE and ORANGE IS THE
 8
     NEW SIZE) or abandoned (ORANGE DOOR STORAGE INSURANCE PROGRAM and
 9
     Design) as set forth above. This is further evidence of Defendant’s improper and overreaching
10
     efforts to exclude others from using the color orange and/or trademarks containing the term
11
     ORANGE.
12
             112.    U-Haul      denies     that    its    registration    and     use        of   the
13
     <everyoneusesorangestoragedoors.com>               domain,       operation          of        the
14
     https://everyoneusesorangestoragedoors.com/ website, and/or use of the color orange and/or
15
     the word “orange” in connection with U-Haul Businesses’ self-storage services violate any
16
     federal, state, or common law rights that Defendant claims to possess.
17
             113.    First, as described above, given the extensive use of the color orange in the
18
     promotion of and on self-storage facilities by hundreds of self-storage providers, including U-
19
     Haul’s longstanding and nationwide use, it is clear that the color when used in connection with
20
     such storage services does not and cannot function as a source identifier for any one particular
21
     self-storage service provider, including Defendant. Therefore, Defendant’s claims that the
22
     color orange has acquired distinctiveness for its services and/or that it has an exclusive right
23
     to use the color in connection with self-storage services are improper.
24
             114.    Moreover, U-Haul’s use of the color orange and references to the color in
25
     connection with its self-storage services is not new or a recent development. As detailed above,
26
     U-Haul has extensively used the color orange in connection with the sale and promotion of its
27
28
                                                   66
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24    Page 67 of 75




 1 self-storage services on a nationwide basis for decades without any evidence of such use
 2 causing confusion as to the source of those services.
 3           115.   Furthermore, Defendant’s alleged Orange Marks are not famous within the
 4 meaning of dilution law, and did not become famous prior to U-Haul’s first use of the color
 5 orange in connection with its self-storage services, and therefore do not qualify for dilution
 6 protection. Further, even assuming that Defendant could somehow establish that its Alleged
 7 Orange Marks are famous for purposes of dilution, U-Haul’s use of the color orange and the
 8 word “orange” is not likely to cause dilution of Defendants’ alleged Orange Marks, either
 9 through dilution by blurring or dilution by tarnishment.
10           116.   In addition, even if Defendant possessed any kind of protectable right in the
11 color orange and/or the term “orange” relating to self-storage services, any use of or reference
12 to the color orange and/or term “orange” within the < everyoneusesorangestoragedoors.com>
13 domain and the content of the https://everyoneusesorangestoragedoors.com/ website clearly
14 constitutes a fair use in that the website describes the hundreds of third-party self-storage
15 providers that use the color orange in connection with their services and also serves as criticism
16 of Defendant’s improper attempt to claim exclusive rights to the color orange in connection
17 with self-storage services and/or that the color has acquired distinctiveness for Defendant’s
18 self-storage services. See Exhibit CC.
19           117.   The July 24 Email makes clear that Defendant believes U-Haul’s use of the
20 color orange and/or term “orange” infringes and dilutes Defendant’s alleged Orange Marks.
21 However, Defendant’s demands for U-Haul to cease such use are improper given Defendant’s
22 lack of any exclusive right to use the color orange and/or the term “orange” in connection with
23 self-storage services. Defendant’s demands and its threat to take legal action against U-Haul
24 if U-Haul does not comply with Defendant’s demands clearly creates an immediate and
25 substantial controversy between the parties, and any such legal action would be unjustified and
26 wrongly interfere with U-Haul’s rightful ability to continue its normal business actions.
27
28
                                                   67
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24     Page 68 of 75




 1                                             COUNT I
 2                  Non-Violation of the Lanham Act Section 32, 15 U.S.C. § 1114
 3           118.    U-Haul incorporates is prior allegations as though fully set forth herein.
 4           119.    As the first ground for relief U-Haul seeks a declaration of non-violation of
 5 Section 32 of the Lanham Act, 15 U.S.C. § 1114, as to federal trademark infringement.
 6           120.    U-Haul’s use of the color orange and the term “orange” in connection with the
 7 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
 8 connection with its self-storage services, and including on its signage, on its buildings, on its
 9 website uhaul.com and on its application, is not likely to cause confusion, mistake or deception
10 as to the source or sponsorship of U-Haul’s services, and does not violate Section 32 of the
11 Lanham Act, 15 U.S.C. § 1114, with respect to any of Defendant’s alleged rights.
12           121.    Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
13 cease its use of the color orange and the term “orange” creates a clear substantial and
14 immediate controversy between the parties that is ripe for adjudication.
15                                             COUNT II
16             Non-Violation of the Lanham Act Section 43(a), 15 U.S.C. § 1125(a)
17           122.    U-Haul incorporates is prior allegations as though fully set forth herein .
18           123.    As the second ground for relief U-Haul seeks a declaration of non-violation of
19 Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), as to false designation of origin and
20 federal unfair competition.
21           124.    U-Haul’s use of the color orange and the word “orange” in connection with the
22 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
23 connection with self-storage services, and including on its signage, on its buildings, on its
24 website uhaul.com and on its application, does not constitute a false designation of origin or
25 federal unfair competition, is not likely to cause confusion, or to cause mistake, or to deceive
26 as to the affiliation, connection, or association of U-Haul with Defendant, or as to the origin,
27 sponsorship, or approval of U-Haul’s services, and does not violate Section 43(a) of the
28 Lanham Act, 15 U.S.C. § 1125(a).
                                                   68
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24     Page 69 of 75




 1           125.    Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
 2 cease its use of the color orange and the term “orange” creates a clear substantial and
 3 immediate controversy between the parties that is ripe for adjudication.
 4                                           COUNT III
 5                   Non-Violation of Lanham Act 43(a), 15 U.S.C. § 1125(c)
 6           126.   U-Haul incorporates is prior allegations as though fully set forth herein .
 7           127.   As the third ground for relief U-Haul seeks a declaration of non-violation of
 8 Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), as to dilution.
 9           128.   Defendant’s alleged Orange Marks are not famous under 15 U.S.C. § 1125(c),
10 and did not become famous prior to U-Haul’s first use of the color orange in connection with
11 its self-storage services.
12           129.   U-Haul’s use of the color orange and the word “orange” in connection with the
13 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
14 connection with its self-storage services, and including on its signage, on its buildings, on its
15 website uhaul.com and on its application, is not likely to cause dilution of Defendant’s alleged
16 Orange Marks, either through dilution by blurring under 15 U.S.C. § 1125(c)(2)(B) or dilution
17 by tarnishment under 15 U.S.C. § 1125(c) (2)(C) and does not violate Section 43(c) of the
18 Lanham Act.
19           130.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
20 cease its use of the color orange and the term “orange” creates a clear substantial and
21 immediate controversy between the parties that is ripe for adjudication.
22                                           COUNT IV
23    Non-Violation of Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d)
24           131.   U-Haul incorporates is prior allegations as though fully set forth herein .
25           132.   As the fourth ground for relief U-Haul seeks a declaration of non-violation of
26 the Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d).
27           133.   Defendant’s alleged Orange Marks are not distinctive and/or famous, and are
28 not entitled to protection.
                                                  69
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24     Page 70 of 75




 1            134.   U-Haul’s <everyoneusesorangestoragedoors.com> domain is not confusingly
 2 similar to Defendant’s alleged Orange Marks.
 3            135.   U-Haul did not register the <everyoneusesorangestoragedoors.com> domain
 4 with a bad faith intent to profit from it.
 5            136.   U-Haul’s registration and use of the <everyoneusesorangestoragedoors.com>
 6 domain does not violate the Anticybersquatting Consumer Protection Act, 15 U.S.C. §
 7 1125(d).
 8            137.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
 9 cease its use of the color orange and the term “orange” in connection with
10 https://everyoneusesorangestoragedoors.com/ website creates a clear substantial and
11 immediate controversy between the parties that is ripe for adjudication.
12                                              COUNT V
13                             Non-Violation of Arizona Common Law
14            138.   U-Haul incorporates is prior allegations as though fully set forth herein .
15            139.   As the fifth ground for relief U-Haul seeks a declaration that it is not
16 committing trademark infringement and/or engaging in unfair competition under Arizona
17 common law.
18            140.   U-Haul’s use of the color orange and the term “orange” in connection with the
19 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
20 connection with its self-storage services, and including on its signage, on its buildings, on its
21 website uhaul.com and on its application, does not cause a likelihood of confusion, mistake or
22 deception as to the source or origin of U-Haul’s services, and does not constitute trademark
23 infringement and/or unfair competition.
24            141.   Therefore, U-Haul’s actions do not violate Arizona common law.
25            142.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
26 cease its use of the color orange and the term “orange” creates a clear substantial and
27 immediate controversy between the parties that is ripe for adjudication.
28                                              COUNT VI
                                                   70
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24     Page 71 of 75




 1 Cancellation of the ORANGE STORAGE Registration (Reg. No. 5083797), 15 U.S.C. §
 2                                               1119
 3           143.   U-Haul incorporates is prior allegations as though fully set forth herein .
 4           144.   This is a claim for cancellation of United States Registration No. 5083797 (the
 5 ORANGE STORAGE Registration”) under 15 U.S.C. § 1119.
 6           145.   Based on U-Haul’s investigation and on information and belief, Defendant
 7 knowingly and with intent to deceive the USPTO, falsely represented in Defendant’s Section
 8 8 Declaration that it filed in connection with the ORANGE STORAGE Registration that the
 9 ORANGE STORAGE mark was in bona fide use in United States commerce in connection
10 with the services recited in the Registration, when it was not.
11           146.   As a result of Defendant’s submission of the foregoing fraudulent Section 8
12 Declaration, the USPTO relied on Defendant’s false statements, accepted Defendant’s Section
13 8 Declaration, and maintained the ORANGE STORAGE Registration.
14           147.   Defendant’s material misrepresentations to the USPTO in connection with the
15 Section 8 Declaration, were designed to maintain the ORANGE STORAGE Registration when
16 the registered mark was not in use in United States commerce, and constituted fraud on the
17 USPTO that justifies cancellation of the ORANGE STORAGE Registration pursuant to 15
18 U.S.C. § 1119.
19           148.   In addition, Defendant has ceased use of the ORANGE STORAGE mark in
20 commerce and, on information and belief, has no intent to resume such use. Therefore,
21 Defendant has abandoned the ORANGE STORAGE mark. Accordingly, the ORANGE
22 STORAGE Registration should be cancelled in its entirety due to Defendant’s abandonment
23 of the mark pursuant to 15 U.S.C. § 1119.
24           149.   U-Haul has been, and will continue to be, harmed by the continued registration
25 of the ORANGE STORAGE Registration as Defendant relies in part on this Registration as
26 the basis for its infringement and dilution allegations against U-Haul in its July 24 Email.
27           150.   In view of the foregoing, the ORANGE STORAGE Registration should be
28 cancelled in its entirety pursuant to 15 U.S.C. § 1119.
                                                  71
     Case 2:24-cv-03160-MTL         Document 1      Filed 11/12/24    Page 72 of 75




 1                                           COUNT VII
 2   Cancellation of the ORANGE IS THE NEW SIZE Registration (Reg. No. 5197479), 15
 3                                           U.S.C. § 1119
 4           151.   U-Haul incorporates is prior allegations as though fully set forth herein.
 5           152.   This is a claim for cancellation of United States Registration No. 5197479 (the
 6 ORANGE IS THE NEW SIZE Registration”) under 15 U.S.C. § 1119.
 7           153.   Based on U-Haul’s investigation and on information and belief, Defendant
 8 knowingly and with intent to deceive the USPTO, falsely represented in Defendant’s Section
 9 8 Declaration it filed in connection with the ORANGE IS THE NEW SIZE Registration that
10 the ORANGE IS THE NEW SIZE mark was in bona fide use in United States commerce in
11 connection with the services recited in the Registration, when it was not.
12           154.   As a result of Defendant’s submission of the foregoing fraudulent Section 8
13 Declaration, the USPTO relied on Defendant’s false statements, accepted Defendant’s Section
14 8 Declaration, and maintained the ORANGE IS THE NEW SIZE Registration.
15           155.   Defendant’s material misrepresentations to the USPTO in connection with the
16 Section 8 Declaration, were designed to maintain the ORANGE IS THE NEW SIZE
17 Registration when the registered mark was not in use in United States commerce, and
18 constituted fraud on the USPTO that justifies cancellation of the ORANGE IS THE NEW
19 SIZE Registration pursuant to 15 U.S.C. § 1119.
20           156.   In addition, Defendant has ceased use of the ORANGE IS THE NEW SIZE
21 mark in commerce and, on information and belief, has no intent to resume such use. Therefore,
22 Defendant has abandoned the ORANGE IS THE NEW SIZE mark. Accordingly, the
23 ORANGE IS THE NEW SIZE Registration should be cancelled in its entirety due to
24 Defendant’s abandonment of the mark pursuant to 15 U.S.C. § 1119.
25           157.   U-Haul has been, and will continue to be, harmed by the continued registration
26 of the ORANGE IS THE NEW SIZE Registration as Defendant relies in part on this
27 Registration as the basis for its infringement and dilution allegations against U-Haul in its July
28 24 Email.
                                                   72
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24      Page 73 of 75




 1           158.   In view of the foregoing, the ORANGE IS THE NEW SIZE Registration
 2 should be cancelled in its entirety pursuant to 15 U.S.C. § 1119.
 3                                           COUNT IX
 4    Cancellation of the Registration for the ORANGE DOOR STORAGE INSURANCE
 5             PROGRAM and Design Mark (Reg. No. 5697799), 15 U.S.C. § 1119
 6           159.   U-Haul incorporates is prior allegations as though fully set forth herein.
 7           160.   On information and belief, Defendant has abandoned the ORANGE DOOR
 8 STORAGE INSURANCE PROGRAM and Design mark that is the subject of Reg. No.
 9 5697799 by discontinuing use of the mark with no intent to resume such use.
10           161.   U-Haul has been, and will continue to be, harmed by the continued registration
11 of the ORANGE DOOR STORAGE INSURANCE PROGRAM and Design mark that is the
12 subject of Reg. No. 5697799 as Defendant relies in part on this Registration as the basis for its
13 infringement and dilution allegations against U-Haul in its July 24 Email.
14           162.   In view of the foregoing, Defendant’s Registration No. 5697799 for the
15 ORANGE DOOR STORAGE INSURANCE PROGRAM and Design mark should be
16 cancelled in its entirety pursuant to 15 U.S.C. § 1119.
17                                    PRAYER FOR RELIEF
18           WHEREFORE, U-Haul respectfully requests that the Court enter judgment in U-
19 Haul’s favor on each count of this Complaint as follows:
20           A.     That the Court declare that U-Haul’s use of the color orange and/or the word
21 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
22 Haul Businesses’ services, including in connection with its self-storage services, and including
23 on signage, on buildings, on the website uhaul.com, on mobile applications, and other
24 marketing materials, does not constitute federal trademark infringement in violation of Section
25 32 of the Lanham Act, 15 U.S.C. § 1114, with respect to any alleged rights owned by
26 Defendant.
27           B.     That the Court declare that U-Haul’s use of the color orange and/or the word
28 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
                                                  73
     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24     Page 74 of 75




 1 Haul Businesses’ services, including in connection with its self-storage services, and including
 2 on signage, on buildings, on the website uhaul.com, on mobile applications, and other
 3 marketing materials, does not constitute federal unfair competition in violation of Section 43(a)
 4 of the Lanham Act, 15 U.S.C. § 1125(a), with respect to any alleged rights owned by
 5 Defendant.
 6           C.     That the Court declare that U-Haul’s use of the color orange and/or the word
 7 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
 8 Haul Businesses’ services, including in connection with its self-storage services and including
 9 on signage, on buildings, on the website uhaul.com, on mobile applications, and other
10 marketing materials, does not constitute federal dilution under Section 43(c) of the Lanham
11 Act, 15 U.S.C. § 1125(c), with respect to any alleged rights owned by Defendant.
12           D.     That     the     Court     declare     U-Haul’s      registration     of    the
13 <everyoneusesorangestoragedoors.com> domain does not constitute a violation of the
14 Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d), with respect to any alleged
15 rights owned by Defendant.
16           E.     That the Court declare that U-Haul’s use of the color orange and/or the word
17 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
18 Haul Businesses’ services, including in connection with self-storage services, and including
19 on signage, on buildings, on the website uhaul.com, on mobile application, and other
20 marketing materials, does not constitute trademark infringement and/or unfair competition
21 under Arizona common law with respect to any alleged rights owned by Defendants.
22           F.     That the Court issue an order directing the USPTO to cancel Defendant’s
23 United States Registration No. 5083797 for the ORANGE STORAGE mark.
24           G.     That the Court issue an order directing the USPTO to cancel Defendant’s
25 United States Registration No. 5197479 for the ORANGE IS THE NEW SIZE mark.
26           H.     That the Court issue an order directing the USPTO to cancel Defendant’s
27 United States Registration No. 5697799 for the ORANGE DOOR STORAGE INSURNCE
28 PROGRAM and Design mark.
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     Case 2:24-cv-03160-MTL        Document 1      Filed 11/12/24    Page 75 of 75




 1           I.     That, because of the exceptional nature of this case, the Court award U-Haul
 2 its reasonable attorneys’ fees and costs relating to this action, pursuant to 15 U.S.C. § 1117.
 3           J.     That the Court award such other and further relief as this Court deems
 4 appropriate.
 5           DATED this 12th day of November, 2024.
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 7                                              BARNES & THORNBURG, LLP

 8
                                             By: /s/ John A. Cullis
 9
                                                 John A. Cullis
10                                               Lawrence E. James

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12                                              MURPHY CORDIER CASALE AXEL PLC

13
                                             By: /s/ Jennifer J. Axel
14                                               Jennifer J. Axel
15                                               Maria F. Hubbard
                                                 Attorneys for Plaintiff U-Haul International, Inc.
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